                            Case 4:23-cv-00102-SDJ Document 1-1 Filed 02/09/23 Page 1 of 3 PageID #: 10
                                                         Exhibit A to the Complaint
Location: Wylie, TX                                                                                     IP Address: 68.203.141.163
Total Works Infringed: 35                                                                               ISP: Spectrum
 Work      Hashes                                                                UTC             Site          Published     Registered   Registration
 1         Info Hash: 0BC27B470E33E6B97166ADC6BC74650A0C72AC6A                          01-25-   Blacked       01-24-2023    01-27-2023   PA0002393074
           File Hash:                                                                     2023   Raw
           7CB3D172D6CC0922236F5DB5BA2336D4DCC99A13CCAE90E9A54C3C5B25082AB1           23:13:15
 2         Info Hash: FFE5224A5E3925847375F8E327267AC2B3148E49                          01-24-   Vixen         12-25-2019    01-03-2020   PA0002219640
           File Hash:                                                                     2023
           5DDEDA2C21234E18A2388E4956D2DFAC0A8A6DA58AEE52EEDECD4A8DBE69AA33           22:43:52
 3         Info Hash: BD854768B2F7F60A088E5A249207DEACEE5A7CD0                          01-24-   Vixen         02-13-2019    03-11-2019   PA0002158413
           File Hash:                                                                     2023
           447C527955F6E538FE6D150312C4E4B5FF83E1EDF58AD42BE5A743D0481BAC0C           22:33:53
 4         Info Hash: 016161E8AA898792B643580F2DB238D327C6ACC3                          01-24-   Blacked       09-29-2021    11-11-2021   PA0002321302
           File Hash:                                                                     2023
           953828B3BE15991749CC09CA4AAB940EBF9ED677ECBFCDB9F3C993294444E817           22:28:59
 5         Info Hash: 97285CD56E2C7C48CE5CD4C1705BE7532FFA3162                          01-15-   Blacked       01-14-2023    01-27-2023   PA0002393084
           File Hash:                                                                     2023   Raw
           AFB9D6A20CB9EF701057374B409E540AA209043245E215C1FDEA6433F30F031F           22:18:29
 6         Info Hash: BC7EB7895A49E227BFC10CF1ACA2C7A4A82BF030                          01-10-   Blacked       01-09-2023    01-27-2023   PA0002393075
           File Hash:                                                                     2023   Raw
           901C3E8756B93139BEB275455DFF0FCABC118DDBD490E3629F87C0B0F1D47358           20:45:15
 7         Info Hash: 580E5F377A9B21CE08E2D9838137776B28D9701F                          12-12-   Blacked       12-10-2022    01-10-2023   PA0002389572
           File Hash:                                                                     2022   Raw
           0B2FBEF512B6EB27306D790E5A2AFF94249B81068695BFD92C70456AD5C0DDAB           04:48:00
 8         Info Hash: 2A442D5C97361AE2B519E1E84CF2D052532D5965                          12-07-   Blacked       12-05-2022    01-10-2023   PA0002389624
           File Hash:                                                                     2022   Raw
           BE95110B0425CE9A42124B848EE8C8610D0378D97D31B729E6AA2A196A7ED522           17:57:11
 9         Info Hash: 33DEBFD16F53996E2A3BD27C4BB5E609F0943E54                          11-28-   Blacked       11-19-2022    12-11-2022   PA0002384693
           File Hash:                                                                     2022
           1A5D9A40E8EA252B70883140ECA5844D396D908269D4AE083966CF481D46B7EC           05:12:43
 10        Info Hash: A8EEB7D3BE975F1E82563589CBDC5AF00199E454                          11-28-   Blacked       11-25-2022    12-11-2022   PA0002384771
           File Hash:                                                                     2022   Raw
           A10BFD823582568B20A3BD6C3D66D4A7CCCA9E7EAD59FE514AF413766A9CDA44           03:03:00
 11        Info Hash: 24E9045D6E0CA4035B0D5BEE8AFD227C2F3AFFA2                          11-21-   Blacked       11-20-2022    12-11-2022   PA0002384733
           File Hash:                                                                     2022   Raw
           83D4E90F31F5FA22E3F05A7B41A37BF3AF8E7F5C1E973D86002B675C5E8E5CEA           20:34:29
                        Case 4:23-cv-00102-SDJ Document 1-1 Filed 02/09/23 Page 2 of 3 PageID #: 11

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 614EB03E0456C4DD438C17A5C6AC80D8C991833A                   11-18-   Blacked   11-15-2022   12-11-2022   PA0002384724
       File Hash:                                                              2022   Raw
       87B70F5CF8D5F3DAB6CA49849F1EDABACE7938F6AE45220F4B66FA1014249A06    22:00:54
13     Info Hash: F03C19E73FD73E2C5CCBB54751B3325D9C91F2E7                   11-02-   Blacked   10-31-2022   12-11-2022   PA0002384770
       File Hash:                                                              2022   Raw
       AFF28110969937078B94F56371672B60C79C98F9F2B4BB51F76157DEB7F03C9C    06:06:19
14     Info Hash: 360953C9CC1BB89C7408B8C2C3ABC896C0836D83                   10-28-   Blacked   10-26-2022   11-01-2022   PA0002378070
       File Hash:                                                              2022   Raw
       76D1DE1208812A2996C02F9290DBBF43F7894BD83EF5361824E6689309E38278    06:34:03
15     Info Hash: E522C7980247A13A96E32357E46232F398486B45                   10-25-   Blacked   11-02-2020   11-24-2020   PA0002265968
       File Hash:                                                              2022   Raw
       EAEB2C8533BDDF599E638D39F482EC672B1D7373A45661F686ADE3CD7D0B0E82    05:28:31
16     Info Hash: 9F1AEDB1A46ED2351C6734A7C20C7CCA52E8D790                   10-25-   Blacked   06-01-2018   07-14-2018   PA0002128077
       File Hash:                                                              2022   Raw
       CA8843DC14DBC4CFFB2D7BCA9970DACE3D7D26DC624B5F1FAAA70E2FD66D2B99    05:28:20
17     Info Hash: 900BAB676337C1F701BB40F026ABFE58A241F810                   10-24-   Blacked   10-21-2022   10-31-2022   PA0002377818
       File Hash:                                                              2022   Raw
       C7E9C8AE0E9153541F167759770B637E30E3F3A2BED8EC63078B68E09DD725E6    14:12:19
18     Info Hash: A50DA64F593C414E6332A2B987C875DFFD297BD9                   10-14-   Blacked   10-11-2022   10-31-2022   PA0002377831
       File Hash:                                                              2022   Raw
       3ED6AB6927CDE5BA6CD646D1BF23C0002BAB6D3F5DA15852459C776F5FB33FE5    06:20:21
19     Info Hash: 5F75B9CECC4F3FEEA7CE46BEDA2B70A0BA267B19                   09-14-   Blacked   06-21-2019   08-27-2019   PA0002213241
       File Hash:                                                              2022   Raw
       98CDC17BC4D0A858192F41FD54802AA61EC55EE5616632DC63F7F18150DC90BA    18:08:37
20     Info Hash: B2F6F377C7CA6CE1DC0B21FB526FC437665E7483                   09-14-   Blacked   09-06-2022   10-05-2022   PA0002373770
       File Hash:                                                              2022   Raw
       A85D1BD0DB7A5D3A1B5DFF1B94FCC5D24ACD174A5C44E4076AF04706AEF90FEC    18:00:56
21     Info Hash: C20D8CE638A46CD39FA65004C565F7F85846691D                   08-29-   Blacked   03-28-2019   05-28-2019   PA0002200777
       File Hash:                                                              2022   Raw
       EA5B48145CBAF733479368D9256BC9D6AA8EC5702C56014718B4A1CBA7E39563    09:01:02
22     Info Hash: 67AFA0C22392BF43BB0C9F890B0701FE72CF0B78                   08-10-   Blacked   08-01-2022   08-29-2022   PA0002367736
       File Hash:                                                              2022   Raw
       B7EA5B6778A1DA271595E5FFBDF5FB5B3BD407EA694BB1BB3F0FB73CF014CA82    06:01:50
23     Info Hash: EAE792E7063378C4FF1EBB88FD015418B92E58A1                   08-03-   Blacked   07-25-2022   08-29-2022   PA0002367727
       File Hash:                                                              2022   Raw
       A5DB0C8A1538FF800291A6C9F6B4EE3C8F909FBB7ED33E5A06F59DD5DDA997FF    22:01:48
                         Case 4:23-cv-00102-SDJ Document 1-1 Filed 02/09/23 Page 3 of 3 PageID #: 12

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 2541261990122381387D2C03CDA34FF74B4EDE3E                   07-25-   Blacked   10-29-2018   12-10-2018   PA0002145837
       File Hash:                                                              2022   Raw
       C687436ACD90C3EA61538DA4C09F489019D7A176148DD86953937717FF9D0F88    07:04:28
25     Info Hash: 9B28A88C9D906C8A1FD82FC58C904B89B49D649C                   06-28-   Blacked   06-27-2022   07-22-2022   PA0002359465
       File Hash:                                                              2022   Raw
       4DDA8B4A98861A4DD3A9B837DA32A4D83498464044009B50949A977415C52D7E    02:34:23
26     Info Hash: A88B603322BF187C8BBA11B011BAA6896B16FD0E                   06-12-   Blacked   06-06-2022   06-27-2022   PA0002355038
       File Hash:                                                              2022   Raw
       11DF5105317A7853DF00BE01797F850ABF0BDC4534AFCE164904B10F78AEA29D    08:35:58
27     Info Hash: EF805B2D1EBB4B6646CC4D55C927F75BA9C0615D                   05-24-   Blacked   05-23-2022   06-27-2022   PA0002355031
       File Hash:                                                              2022   Raw
       784BFE75D283C783F7044A0A1255798721F20E721F81B7A552B9396BD16747CB    06:22:33
28     Info Hash: 3350AD6ED2ECD3F20CA9BFAB853A3CED164589B0                   05-22-   Blacked   08-05-2018   09-01-2018   PA0002119682
       File Hash:                                                              2022   Raw
       C37AF8553805F6A6564CD2DA3705A9DAFD128B2939D7AA101D686499D196A471    05:55:47
29     Info Hash: 763A6FC5F201546394575CD7601D8C2D7DBD3AE7                   05-18-   Blacked   09-04-2018   11-01-2018   PA0002143430
       File Hash:                                                              2022   Raw
       A2BE74C8C93C222986472D05AD8FD915556D28A62D19C4E1BA8E14CFBC4CE75A    05:00:52
30     Info Hash: 1ED7894C730F91D284F9451A87ECDC8F5187BF50                   05-18-   Blacked   05-12-2018   05-24-2018   PA0002101380
       File Hash:                                                              2022   Raw
       38583D10BC13553F985C29BAE89EF5FBF0C3DE0603CF9C41C598EDB9A7D3426E    04:39:19
31     Info Hash: A8ACCBA5E8CF0D8ABF341758D9D788C9AEF138A1                   04-04-   Blacked   03-28-2022   04-23-2022   PA0002346413
       File Hash:                                                              2022   Raw
       AFCF49B8B9A4B20C87E856A700CDA399F65BB5040CD14A30F8E54DEDBDC36258    06:57:16
32     Info Hash: 25FDB4399377A227521AEC61DCAA47C346DFE01C                   02-25-   Blacked   02-21-2022   03-29-2022   PA0002342850
       File Hash:                                                              2022   Raw
       05EB528CDD2281B503460FF042954C24F6221181A76F08D84EEDF2BD66FAE947    03:56:22
33     Info Hash: 1C9EF4F47C9DF31FC3FCBF658C0B811B1899F89C                   02-17-   Blacked   07-01-2018   07-26-2018   PA0002112161
       File Hash:                                                              2022   Raw
       586893E43CB7D0015D78CEB0A8BCD237A3DA3E6EA2BDE57CF7D7278B51BC54BC    20:02:51
34     Info Hash: 3DF02297492E674C47F69F153E942004D89BD841                   02-17-   Blacked   02-14-2022   03-29-2022   PA0002342705
       File Hash:                                                              2022   Raw
       1B75F5D20E506A8B5225C95BD70DD6A2CBE469B9205E2570871862F56C98B07F    19:53:08
35     Info Hash: 9E327416325533C3D0F6B592CD2F8F3F70FC1D0A                   02-15-   Blacked   11-21-2018   12-18-2018   PA0002141915
       File Hash:                                                              2022   Raw
       BB53292CCC77CAC9E8F30E027AC2F15221938C8CE0E3E907C5957FC576F75245    06:44:37
